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 1                                                                    JUDGE RICARDO MARTINEZ
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 8
 9                              UNITED STATES DISTRICT COURT
10                             WESTERN DISTRICT OF WASHINGTON

11   UNITED STATES OF AMERICA,                      )
                                                    )    CR 07-29RSM
12                         Plaintiff,               )
13                                                  )
               V                                    )    ORDER FOR IMMEDIATE RELEASE
14   XUAN VAN LAM,                                  )    AND SEVENTY –TWO HOUR
                                                    )    FURLOUGH
15                         Defendant                )
                                                    )
16
                                                    )
17
18                  THE COURT having reviewed the stipulation of the parties, the records and files
19   herein, including, the court has determined that the above named defendant’s immediate release
20   from custody at the Federal Detention Center, Sea Tac WA., and Seventy-Two hour furlough
21   would be appropriate in this case, makes the following findings of fact:
22
23                  1.     The Court finds that a failure to grant the immediate release of this
24
25                                                                     PHILLIPS LAW LLC
     ORDER FOR IMMEDIATE RELEASE AND
                                                                   1111 Third Avenue, Suite 2220
26   FOR A SEVENTY TWO HOUR FURLOUGH - 1                                Seattle, WA 98101

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 1   defendant followed by a seventy two hour furlough is appropriate.
 2                  2.       The defendant’s Mother, Ut My Le passed away on Monday,
 3   October 8, 2007 at 7:28 AM.
 4                  3.       The funeral services for Ms Le, now deceased, are to be conducted
 5   at the Forest Park East Funeral Home, on Friday, October 12, 2007, at 2:00 PM, Webster Texas.
 6                  4.      Mr. Lam is a naturalized citizen, with a wife and child, and many
 7   other family members living in the Houston Texas metropolitan area.
 8                  5. Mr. Lam had pleaded guilty and is waiting his sentencing set for
 9   October 26, 2007, to Conspiracy to Manufacture Marijuana, as charged in Count 1, in violation
10
     of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B), and 846. The defendant is
11
     charged under Section 841(b)(1)(A), for an offense involving over 1000 or more marijuana
12
     plants, but is pleading guilty to the lesser included offense a violation of Section 841(b)(1)(B) for
13
14   an offense involving less than 1000 but more than 100 marijuana plant.

15                  2.      The Court further finds that the ends of justice will be served by ordering
16   the defendant’s immediate release from custody, and a seventy two hour furlough after which
17   he is to report back to the Federal Detention Center at Sea-Tac WA, for detention pending his
18   sentencing on October 26, 2007. Accordingly,
19                  IT IS ORDERED that the above named defendant Xuan Van Lam, Reg # 37104-
20   086 shall be released immediately from custody at the Federal Detention Center, Sea-Tac
21   Washington.
22
23
24
25                                                                       PHILLIPS LAW LLC
     ORDER FOR IMMEDIATE RELEASE AND
                                                                     1111 Third Avenue, Suite 2220
26   FOR A SEVENTY TWO HOUR FURLOUGH - 2                                  Seattle, WA 98101

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 1                   IT IS FURTHER ORDERED that Xuan Van Lam shall report to the federal
 2   Detention Center, Sea Tac Washington, within seventy two (72) Hours of his release, NO
 3
     LATER THAN SUNDAY, OCTOBER 14, 2007, there to wait sentencing on October 26, 2007.
 4
 5                                DONE this 11th day of October, 2007.
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10                                              RICARDO S. MARTINEZ
                                                UNITED STATES DISTRICT JUDGE
11
12
     Presented by:
13
14   /s/_Howard L. Phillips
     HOWARD L. PHILLIPS
15   Phillips Law LLC
16   1111 Third Avenue
     Seattle WA. 98101
17   Telephone: (206) 725-0912
     Fax: (206) 682-3746
18   Email: iidefend@aol.com
19
20
     s/ Douglas Whalley
21   Assistant United States Attorney
     Telephonic Approval
22
23
24
25                                                                  PHILLIPS LAW LLC
     ORDER FOR IMMEDIATE RELEASE AND
                                                                1111 Third Avenue, Suite 2220
26   FOR A SEVENTY TWO HOUR FURLOUGH - 3                             Seattle, WA 98101

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